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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


KIRA WAHLSTROM,

                          Plaintiff,

                  -against-                     Civil Case No. 1:22-cv-10792

DAVID J. HOEY, LAW OFFICES OF
DAVID J. HOEY, P.C., DON C. KEENAN,
AND D.C. KEENAN & ASSOCIATES, P.C.
D/B/A THE KEENAN LAW FIRM, P.C.

                         Defendants


              NOTICE OF APPEARANCE OF JOHN J.E. MARKHAM, II

       PLEASE TAKE NOTICE that the undersigned counsel hereby appears for Plaintiff Kira

Wahlstrom in the above-referenced matter.

Dated: May 23, 2022                         Respectfully submitted,

                                            /s/ John J.E. Markham, II
                                            John J.E. Markham, II (BBO No. 638579)
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